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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE EX PARTE APPLICATION OF
SPS I FUNDO DE INVESTIMENTO DE AÇÕES –
INVESTIMENTO NO EXTERIOR

                                    Petitioner,
                                                              No. Misc. ____________


For an Order Pursuant to 28 U.S.C. § 1782 to Take
Discovery for use in Contemplated Proceeding in the
Federative Republic of Brazil.



     EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
           AND MEMORANDUM OF LAW IN SUPPORT THEREOF




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       SPS I Fundo de Investimento de Ações – Investimento no Exterior (“SPS” or the

“Petitioner”) respectfully submits this memorandum of law in support of its ex parte

application for an order permitting Petitioner to obtain discovery from J.P. Morgan Chase Bank,

N.A. (“JPM”) and from Barclays USA, Inc. (“Barclays” and with JPM, each a “Respondent”

and together the “Respondents”) for use in a contemplated foreign legal proceeding pursuant

to 28 U.S.C. § 1782 (the “Application”).

       The pertinent facts set forth herein are supported by the declaration of Petitioner’s

Brazilian attorney, Gustavo Machado Gonzalez (the “Gonzalez Declaration” or “Gonzalez

Decl.”), attached hereto as Exhibit A.

                              PRELIMINARY STATEMENT

       The Application seeks an order authorizing SPS to seek the discovery of documents

evidencing transactions conducted by the following companies: Unifleisch Limited

(“Unifleisch UK”), Unifleisch SA (“Unifleisch SA”), Lunsville International Inc.

(“Lunsville”) and Valdarco Investments Inc. (“Valdarco”), through the intermediation of the

services provided by Respondents, both financial institutions located in the Southern District of

New York, for use in a contemplated proceeding in Brazil. The discovery requests are detailed

in the form of subpoenas addressed to Respondents which are exhibited to Petitioner’s proposed

form of order being filed contemporaneously herewith (the “Proposed Order”).

       As discussed below, Petitioner is a minority shareholder of one of the largest Brazilian

public companies, JBS S.A. (“JBS”) (Gonzalez Declaration ¶¶ 23 and 24.), which was used by

its controlling shareholders (the “Batista family”) for the purpose of conducting an illicit

bribery scheme, defrauding JBS and its minority shareholders.

       This complex bribery scheme involved several companies and financial institutions

headquartered outside Brazil and led to a series of investigations and proceedings involving JBS
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and the Batista family in Brazil and in the United States, from which important evidence was

obtained (Gonzalez Decl. ¶ 24 and 29.).

       In 2020, the Batista family, through the controlling company of JBS, J&F Investimentos

S.A. (“J&F”), entered into a Plea Agreement with the United States Department of Justice

(“DOJ”) due to a series of unlawful actions taken by them, including the fraudulent merger of

Bertin S.A. and JBS in 2009 (the “JBS-Bertin Merger”).

       In September 2020, new facts connecting JBS and the Batista family to some companies

incorporated outside Brazil and unknown to Brazilian authorities were unveiled through an

international journalistic investigation named “FinCen Files” (Gonzalez Decl. ¶ 30.). The

investigation originated from another operation conducted by the US Financial Crimes

Enforcement Network (“FinCen”) that showed in a report issued in 2017 that bank Barclays

raised red flags regarding some companies that were linked directly to the Batista family and to

the corruption scheme they operated in Brazil (Gonzalez Decl. ¶ 37.).

       According to suspicious activity reports (SARs) issued by Barclays, potential companies

involved in suspicious activities included: Unifleisch UK, Unifleisch SA, Lunsville and

Valdarco. The evidence suggests that these entities received orders directly from the Batista

family, making several recurrent international transactions that pointed to a high risk of money

laundering and payment of bribes to Brazilian officials, although the Batista family tried to

conceal the fact that they were the true beneficial owners of those companies (Gonzalez Decl.

¶ 38.). This Application seeks discovery from Respondents regarding international transactions

conducted by the companies above listed that may be linked to unlawful conducts taken in

detriment to JBS assets and its minority shareholders (Gonzalez Decl. ¶ 47.).

       The evidence sought in this Application is for use by SPS in a contemplated complaint

to be presented by SPS to the Brazilian’s securities and exchange commission – Comissão de

Valores Mobiliários (the “CVM”) against the Batista family (Gonzalez Decl. ¶ 27 and 48.). The


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complaint of SPS would report to the CVM the relevant evidence of wrongdoings perpetrated

by the Batista family, which could constitute severe violations under Brazilian Law, including

abuse of their control power as defined in Brazilian Corporate Law (Gonzalez Decl. ¶ 12.). The

actions of the Batista family led JBS being involved in several investigations in recent years,

which reflected negatively on its market performance and harmed its minority shareholders

(Gonzalez Decl. ¶ 24 and 25.).

       CVM has the power to initiate and judge administrative enforcement proceedings

against public companies, its managers, and shareholders; and, historically, information

provided by third parties (as investors) are extremely important for investigations conducted by

the CVM (Gonzalez Decl. ¶ 16-19.). SPS expects that its complaint will lead CVM to start an

enforcement proceeding against the Batista family (the “Contemplated Proceeding”).

       For the reasons set forth below, the Petitioner respectfully requests that the Court enter

an order granting this Application. First, this Application meets the statutory requirements for

a Section 1782 application because Respondents are “found” in this district, and the discovery

sought is “for use” in a Brazilian proceeding to be initiated by the CVM in reaction of the new

claim the Petitioner intends to file. Second, the discretionary factors set forth in Intel Corp. v.

Advanced Micro Devices, Inc., 542 U.S. 241 (2004) (hereinafter “Intel Corp.”) all weigh in

favor of granting this Application:

       (i) Respondents will not be parties to a foreign proceeding to be initiated in the CVM,

and SPS is otherwise unable to obtain the sought-after discovery in Brazil;

       (ii) The potential foreign proceeding would be receptive to the discovery that SPS seeks;

       (iii) The Application is not designed to circumvent foreign proof gathering restrictions;

and

       (iv) The discovery sought is neither unduly intrusive nor burdensome.




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           Granting this Application would also further the “twin aims” of Section 1782:

 “providing efficient means of assistance to participants in international litigation in our federal

 courts and encouraging foreign countries by example to provide similar means of assistance to

 our courts.” 1

           SPS therefore respectfully requests that the Court enter an order granting this

 Application substantially in the form of the Proposed Order filed contemporaneously herewith.

                                            Factual Background


A.         The Parties

     1. JBS S.A. and the Batista family

           JBS is one of the world’s largest meat supplier and meat-processing company. It is

     publicly traded on the São Paulo Stock Exchange and is one of the largest Brazilian public

     companies. (Gonzalez Decl. ¶¶ 24.) The company rapidly grew from a small, family-owned

     business to an international conglomerate with over 250 subsidiaries across five continents. 2

     Despite this rapid growth, JBS remains largely family-owned and controlled by the Batista

     family through their holding company, J&F 3.

           In addition to using J&F to own and control JBS, the Batista family also used J&F to

     perpetrate one of the largest corruption schemes in the world. In June 2017, J&F pleaded guilty

     to corruption and other criminal conduct in Brazil, 4 and, in October 2020, J&F pleaded guilty



 1
     Mees v. Buiter, 793 F.3d 291, 297–98 (2d Cir. 2015)
 2
    See JBS’s Annual Report (Formulário de Referência) (Jan. 1, 2021), Item 7.1,
 https://api.mziq.com/mzfilemanager/v2/d/043a77e1-0127-4502-bc5b-
 21427b991b22/50eb2f9d-db39-964e-2192-e3f867987174?origin=1. JBS’s reports with the
 CVM are only available in Portuguese. Upon request of the Court, the Petitioner will provide
 English translations of any portions of those reports.
 3
     Id. at Item 15.
 4
  See id. at Item 4.1. J&F entered into a plea agreement with Brazil’s Federal Prosecutor’s
 Office – Ministério Público Federal, or MPF, in June 2017.


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    to conspiracy to violate the anti-bribery provisions of the Foreign Corrupt Practices Act in the

    Eastern District of New York. 5 The total fines imposed by the Brazilian authorities and the

    United States Department of Justice exceed $3 billion.

            Pursuant to the statement of facts supporting J&F’s guilty plea in the Eastern District of

    New York, between 2005 and 2017, J&F engaged in a bribery scheme, with the involvement

    of the Batista family, involving more than $148 million in payments to Brazilian government

    officials and a high-ranking executive from the Brazilian Development Bank, or BNDES. As

    stated by the then-Acting United States Assistant Attorney General: “With today’s guilty plea,

    J&F has admitted to engaging in a long-running scheme to bribe corrupt officials in Brazil to

    obtain financing and other benefits for the company.” 6 To engage in these unlawful acts, the

    Batista family involved several financial institutions and companies located outside Brazil, as

    described below.

            The Batista family themselves have also pleaded guilty and entered into plea agreements

    with Brazil’s Federal Prosecutor’s Office – the Ministério Público Federal (the “MPF”) – in

    2017.

            However, in September 2020, the FinCen Files demonstrated that other companies

    incorporated in foreign countries were used by the Batista family to make wire transfers to pay

    bribes to Brazilian Officials, which evidence that the Batista family provided the Brazilian

    foreign authorities with incomplete and inaccurate information.




5
    See Plea Agreement attached hereto as Exhibit B.
6
 See Press Release, U.S. Dep’t of Justice, J&F Investimentos S.A. Pleads Guilty and Agrees to
Pay Over $256 Million to Resolve Criminal Foreign Bribery Case (Oct. 14, 2020),
https://www.justice.gov/opa/pr/jf-investimentos-sa-pleads-guilty-and-agrees-pay-over-256-
million-resolve-criminal-foreign.

                                                    5
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2. The Petitioner: SPS I Fundo De Investimento De Ações – Investimento No Exterior

       The Petitioner is a minority shareholder of JBS. In such capacity and according to

Brazilian Corporate Law, Petitioner is entitled to initiate a claim before the CVM or before a

Brazilian Court to investigate and punish the controlling shareholders of a company for abuse

of their controlling power, and its managers, for their wrongdoings. (Gonzalez Decl. ¶ 11-14

and 19-22.)

       SPS, based upon new sources of evidence, including the FinCen Files, fears that other

illicit transactions were guided by the Batista family and by the companies they incorporated or

controlled that have not been unveiled to Brazilian authorities and to the market that regard to

the abuse of controlling power or other violations in detriment to minority shareholders.



3. The Discovery Target: J.P. Morgan Chase Bank, N.A. and Barclays USA, Inc.

       All Respondents are financial institutions that are found or have offices operating in the

Southern District of New York. Those banks act as worldwide correspondents in New York

City to process U.S. Dollar denominated wire transfers.

       Barclays was identified by the FinCen Files as one of the financial institutions in which

Unifleisch UK held an account to receive a significantly large amount of funds from JBS and

later transfer them through suspicious transactions to companies located in high-risk

jurisdictions like Panama and Switzerland (Gonzalez Decl. ¶ 38.). Those companies were,

among others, Lunsville, Valdarco and Unifleisch SA.

       As for JPM, it was a major financial advisor of JBS and the Batista family for more than

a decade and it was directly involved in the incorporation of Blessed Holdings, a company used

by the Batista family to hide the fraudulent aspect of the JBS-Bertin Merger. (Gonzalez Decl.




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 ¶¶ 42 and 43.) In addition, in a statement (the “JPM Statement”) 7 presented by JPM on June

 15, 2017, Lunsville – one of the companies known to have been used in the bribery schemes

 involving the Batista family – was listed as one of Blessed Holdings’ beneficial owners, directly

 controlled by the Batista family 8. (Gonzalez Decl. ¶ 44.)

          The Application seeks to obtain evidence from documents evidencing wire transfers,

 among other conducts, taken by Unifleisch UK, Unifleisch SA, Lunsville and Valdarco, or other

 entities in connection to J&F, Batista family, or JBS, through the intermediation of the services

 provided by the banks that could relate to the use of those companies, or other entities, to extract

 funds from JBS, such as provided by bank Barclays’ reports disclosed within the FinCen Files.

          Respondents will not be parties to the complaint to be filed by SPS with the CVM, or to

 the Contemplated Proceeding to be initiated by the CVM, but the transactions that happened

 involving companies outside Brazil – with the aid the services provided by the Respondents –

 are key elements for the Contemplated Proceeding.

          The main purpose of the Contemplated Proceeding would be to hold liable the majority

 shareholders of JBS, the Batista family, and its managers for severe violations under Brazilian

 Law, such as their abuse of power concerning their controlling status, as the company’s assets

 were engaged by them in a complex illicit scheme, to the detriment of JBS and its minority

 shareholders. (Gonzalez Decl. ¶ 46.)



B. The Foreign Tribunal: Comissão de Valores Mobiliários (the “CVM”)

          The CVM (Brazil’s Securities and Exchange Commission) was created by Law No.

 6,385, dated December 7, 1976 (the “Brazilian Securities Law”). (Gonzalez Decl. ¶ 15.) This



 7
  A copy of the original JPM Statement in Portuguese as well as an English translation of
 same are attached hereto as Exhibit D.
 8
     See Exhibit D, JPM Statement ¶ 8.

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 federal administrative body is independent and shares similar regulatory traits to the United

 States Securities and Exchange Commission (“SEC”). However, there is one notable difference

 concerning CVM’s powers as compared with the SEC’s powers: the CVM’s commissioners are

 in charge of judging administrative proceedings that result from investigations conducted by

 the CVM. (Gonzalez Decl. ¶ 18.) In such situations, the target of the investigation is charged

 through an administrative indictment. Where an administrative indictment is filed, the CVM’s

 commissioners act as administrative judges for the purpose of reviewing and deciding the

 administrative proceedings within the CVM’s statutory powers, as conferred by Brazilian law.

 (Gonzalez Decl. ¶ 18.)

        The CVM is authorized to commence investigations at its own discretion when it

 suspects that publicly traded companies and/or their managers are in breach of Brazilian

 securities and corporate laws, which often occurs based upon a complaint presented by an

 interested third person, such an investor. (Gonzalez Decl. ¶ 17 and 19.) The CVM can charge

 companies and individuals who are accused of violations to Brazilian corporate and securities

 laws, as well as provide relevant evidence to other Brazilian authorities, such as the MPF, which

 can then pursue criminal charges against the accused. (Gonzalez Decl. ¶ 21.)

        In addition, the CVM is suffering from a major insufficiency of resources for conducting

 investigations. This context creates additional relevance to the participation of interested third

 persons in the proceedings with the CVM, in order to provide evidence and information that the

 Commission would not be able to otherwise collect or produce. (Gonzalez Decl. ¶¶ 20 and 22.)



C. The Contemplated Proceeding

        Although CVM, in recent years, has investigated the controlling shareholder of JBS on

 potential violations and has already accused the Batista family for fraud on the context of a




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specific transaction, CVM does not seem to have initiated any investigation in connection with

the illegal transfer of JBS funds to foreign companies.

       This information was first disclosed by Mr. Demilton Antônio de Castro (“Demilton”),

a former J&F agent who entered into a plea agreement with MPF. The companies mentioned

by Demilton were Lunsville and Valdarco. Both companies received money from JBS declared

as a commission related to the company’s exports. However, those values were used for the

payment of bribes in Brazil and for the personal use of Joesley Batista. (Gonzalez Decl. ¶¶ 32-

34.)

       In addition, a Brazilian tax investigation, Procedimento Fiscal nº 08165002016-00436-

8 (“Tax Proceeding”) revealed that Unifleisch UK had a major role in connection with the

transfer of funds from JBS to Lunsville and Valdarco (i.e. the commissions referred to by

Demilton). It was revealed that Unifleisch UK acted as an intermediary among such companies,

whereby it received commissions from JBS, under a seemingly legitimate commercial

representation agreement, and then transferred those funds (with no apparent economic

purpose) to Lunsville and Valdarco. (Gonzalez Decl. ¶ 33.).

       The use of funds that were transferred to Valdarco and Lunsville from JBS (with the

intermediation of Unifleisch UK) would be subject to the discretion of Joesley Batista –

including for the payment of bribes, as mentioned above. In this context, one can potentially

state that Unifleisch UK was a company incorporated for the sole purpose of creating a false

chain of payments that would finally lead to the controlling shareholders of JBS, who were

benefiting from the assets taken from JBS and using them for corruption schemes (Gonzalez

Decl. ¶ 33.).

       In September 2020, new evidence relating JBS to Unifleisch UK and to Unifleisch SA

were unveiled by the FinCen Files. Among the documents, a report dating from 2017 disclosed

that the bank Barclays raised red flags on Unifleisch UK after some suspicious transactions


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directed to high-risk jurisdictions constantly linked to money laundering. (Gonzalez Decl. ¶¶

37 and 38.) It was pointed out that the company received orders from JBS, Lunsville and

Valdarco for all actions taken, which further suggests the close relationship among all those

companies, and the Batista family. Besides, money transfers to Antigua Investments LLC

(“Antigua”), a company based in Switzerland and incorporated by the patriarch of the Batista

family, Mr. José Batista Sobrinho, raised more concerns on Barclays. (Gonzalez Decl. ¶ 33 and

38.)

         On another occasion, the Brazilian tax authorities identified transfers to Antigua coming

from Lunsville, and Joesley Batista, in his plea agreement, referenced that Antigua was the

company responsible for making wire transfers to Brazilian officials.

         Beyond the documents provided by the FinCen Files, in the JPM Statement, JPM states

that it provided the services of global custodian to Blessed Holdings and that, in 2009, JPM

received a “Statement of Organizer in Lieu of Organization Meeting” indicating that Lunsville

and Gilberto Souza Biojone Filho were managers of Blessed and that Lunsville was the sole

member of the company 9. After a due diligence proceeding conducted by JPM, it was found

that Lunsville was detained by members of the Batista family (Gonzalez Decl. ¶ 43 and 44.).

         For these facts and reasons, the Batista family apparently engaged in a complex

operation to defraud JBS and its minority shareholders using companies incorporated in foreign

countries so it would be easier to escape from Brazilian authorities’ vigilance, while also paying

bribes to Brazilian officials through the intermediation of those companies.

         After taking notice of the documents revealed by the FinCen Files, Petitioner seeks new

evidence through this Application for use in a new proceeding with the CVM – evidence

concerning the Batista family and the companies they used to operate financial transactions that

appoint to fraudulent money transfers. (Gonzalez Decl. ¶¶ 47 and 48.)


9
    See Exhibit D, JPM Statement ¶ 8.

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             By obtaining and providing such evidence to the CVM, the Petitioner will file a

  complaint asking CVM to initiate the Contemplated Proceeding based on relevant evidence that

  could potentially lead to severe charges of the Batista family, including for their abuse of control

  power in light of Brazilian Corporate Law (Gonzalez Decl. ¶¶ 12 and 48.)



D. Legal Standard

             In evaluating an Application pursuant to Section 1782, courts must first determine

whether “certain statutory requirements” are met. 10 Specifically, a district court may grant a

Section 1782 application where: “(1) the person from whom discovery is sought resides (or is

found) in the district of the district court to which the application is made, (2) the discovery is for

use in a foreign proceeding before a foreign or international tribunal, and (3) the application is

made by a foreign or international tribunal or any interested person.” 11

              Where, as here, those statutory requirements are satisfied, a court may grant a Section

1782 application at its discretion. 12 The Supreme Court has enumerated four factors relevant to

the court’s exercise of discretion: (1) whether “the person from whom discovery is sought is a

participant in the foreign proceeding” such that “the need for § 1782(a) aid is not as apparent as

it ordinarily is when evidence is sought from a nonparticipant in the matter arising abroad”; (2)

“the nature of the foreign tribunal, the character of the proceedings underway abroad, and the

receptivity of the foreign ... court ... to U.S. federal court judicial assistance”; (3) whether the

request “conceals an attempt to circumvent foreign proof gathering restrictions or other policies

of a foreign country or the United States”; and (4) whether the request is “unduly intrusive or




  10
       In re Accent Delight Int'l Ltd., 869 F.3d 121, 128 (2d Cir. 2017).
  11
       Mees, 793 F.3d at 297
  12
       Id.


                                                    11
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     burdensome[.]” 13 Finally, when considering a Section 1782 application, courts must “exercise

     their discretion under § 1782 in light of the twin aims of the statute: ‘providing efficient means

     of assistance to participants in international litigation in our federal courts and encouraging

     foreign countries by example to provide similar means of assistance to our courts.’ ” 14

                                               ARGUMENT

               Section 1782 authorizes federal district courts to order discovery to assist petitioners

     like SPS in obtaining evidence in the United States for use in foreign legal proceedings. To

     obtain discovery under Section 1782, a Petitioner must satisfy three statutory requirements:

     (i) the person from whom discovery is sought must reside or be found within the district; (ii) the

     discovery must be for use in a proceeding before a foreign or international tribunal; and (iii) the

     application must be made by an interested person. 15 As shown below, SPS’s Application

     satisfies each of these three requirements.

I.           THIS APPLICATION SATISFIES THE STATUTORY REQUIREMENTS OF
             SECTION 1782.

           A. Respondents are Found in the District

               The banks from whom discovery is sought, JPM and Barclays, are present in the

     Southern District of New York because either they are organized under the laws of New York

     State or have offices operating and representing it in the District. 16




     13
          Intel Corp., 542 U.S. at 264-65.
     14
        Brandi-Dohrn v. IKB Deutsche Industriebank AG, 673 F.3d 76, 81 (2d Cir. 2012) (Quoting
     In re Metallgesellschaft, 121 F.3d 77, 79 (2d Cir.1997).
     15
          28 U.S.C. 1782(a).
     16
        See 28 U.S.C. 1782(a) (“The district court of the district in which a person resides . . . may
     order him to give his testimony or statement or to produce a document or other thing . . ..”); In
     re Edelman, 295 F.3d 171, 179-80 (2d Cir. 2002) (respondent is “found” if physically present
     in the district).


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           Those banks have long-established connections to New York and they all maintain

headquarters or branches in this District. According to Barclays’ website, “New York is home

to Barclays’ US headquarters” 17. The same is applicable to JPM 18.

           Thus, Respondents are clearly “found” within the district for the purposes of Section

1782. 19


      B. Discovery Sought is “For Use” in a Contemplated Foreign Proceeding

           A Section 1782 petitioner need only show that the materials sought “will be employed

with some advantage or serve some use in the proceeding – not necessarily something without

which the petitioner could not prevail.” 20 The “for use” requirement imposes a “de minimus”

burden on the Petitioner to show that the requested discovery has some relevance to the foreign

proceeding. 21. Relevance is “broadly construed and encompasses any material that bears on, or

that reasonably leads to other matters that could bear on, any issue that is or may be in the

case.” 22 When relevance is in doubt, the district court should be permissive. 23 District courts




17
     Available at: https://home.barclays/careers/barclays-office-locations/.
18
     JPM is headquartered at 383 Madison Avenue, New York, NY, 10179.
19
  See In re Edelman, 295 F.3d at 179-80 (mere “physical presence” sufficient to satisfy “is
found” prong of Section 1782) (citations omitted).
20
  Mees, 793 F.3d at 298 (“[D]iscovery sought pursuant to 1782 need not be necessary for the
party to prevail in the foreign proceeding in order to satisfy the statute’s ‘for use’
requirement.”); Certain Funds, Accounts and/or Inv. Vehicles v. KPMG, L.L.P., 798 F.3d 113,
120 (2d Cir. 2015) (Section 1782 merely requires showing that the evidence “is something that
will be employed with some advantage or serve some use in the [foreign] proceeding.”); Brandi-
Dohrn, 673 F.3d 7at 82-84 (“for use” requirement does not mean that the evidence must be
admissible in foreign tribunal); In re Chevron Corp., 633 F.3d 153, 163 (3d Cir. 2011) (“as the
Court made clear in Intel, there is no requirement that the material be discoverable in the foreign
country for it to be discoverable pursuant to section 1782 in the United States.”).
21
     In re Veiga, 746 F. Supp. 2d 8, 17−18 (D.D.C. 2010).
22
     Id. at 19 (citing Alexander v. FBI, 194 F.R.D. 316, 325 (D.D.C. 2000)).
23
     Id.


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should not attempt to determine whether the evidence would or could be discoverable or

admissible in the foreign proceeding. 24

       Besides, it is not necessary that the proceeding is pending, and it is authorized that courts

grant discovery if the proceeding is “within reasonable contemplation”. 25 Even though

proceedings have not yet begun, “§ 1782(a) does not limit the provision of judicial assistance

to ‘pending’ adjudicative proceedings. Intel Corp., 542 U.S. at 260–61 (2004). There is also no

requirement that the proceedings be imminent. Id. As the Intel court explained, all that is

necessary is that the evidence may be eventually used in such a proceeding. Id.” 26.

       Therefore, even though a proceeding is not pending, courts 27 have granted applications

pursuant to Section 1782 when Petitioner demonstrates that the evidence sought is enough to

support a future potentially contemplated proceeding.




24
  Id. at 17–18 (citing cases); Brandi-Dohrn, 673 F.3d at 76 (noting unanimity among the
Circuits who have ruled on the issue).
25
  Mees, 793 F.3d at 291, 299, (quoting *302 Intel, 542 U.S. at 259, 124 S.Ct. 2466). “[A] §
1782 applicant must present to the district court some concrete basis from which it can
determine that the contemplated proceeding is more than just a twinkle in counsel's eye.”
Certain Funds, Accounts &/or Inv. Vehicles v. KPMG, L.L.P., 798 F.3d 113, 124 (2d Cir. 2015).
The applicant “must provide some objective indicium that the action is being contemplated ...
[and] the proceedings cannot be merely speculative.” Id. at 123-24.”.
26
  Pinchuk v. Chemstar Prod. LLC, No. 13-MC-306-RGA, 2014 WL 2990416, at *2 (D. Del.
June 26, 2014).
27
   542 U.S. 241, 259, 124 S. Ct. 2466, 2480, 159 L. Ed. 2d 355. “In short, we reject the view,
expressed in In re Ishihara Chemical Co., that § 1782 comes into play only when adjudicative
proceedings are “pending” or “imminent.” See 251 F.3d, at 125 (proceeding must be
“imminent—very likely to occur and very soon to occur” (internal quotation marks omitted)).
Instead, we hold that § 1782(a) requires only that a dispositive ruling by the Commission,
reviewable by the European courts, be within reasonable contemplation. See Crown
Prosecution Serv. of United Kingdom, 870 F.2d, at 691; In re Request for Assistance from
Ministry of Legal Affairs of Trinidad and Tobago, 848 F.2d 1151, 1155, and n. 9 (C.A.11 1988);
Smit, International Litigation 1026 (“It is not necessary ... for the [adjudicative] proceeding to
be pending at the time the evidence is sought, but only that the evidence is eventually to be used
in such a proceeding.”)”.


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          SPS intends to present a claim asking to initiate the Contemplated Proceeding before a

foreign tribunal, the CVM. The Supreme Court explained that “Congress introduced the word

‘tribunal’ to ensure that ‘assistance is not confined to proceedings before conventional courts,’

but extends also to ‘administrative and quasi-judicial proceedings.’ Intel, 542 U.S. 241, 249

(2004). The Supreme Court found that the European Commission was a tribunal under

Section 1782. Id. at 258. The European Commission “exercises responsibility over the wide

range of subject areas covered by the European Union treaty.” Id. at. 250. Therefore, CVM can

be interpreted as a tribunal under the Supreme Court interpretation.



      C. The Petitioner will be an interested person in the Contemplated Proceeding.

          The case law defines an “interested person” broadly. In fact, an interested person does

not need to be an official party to the proceeding. 28 In Intel Corp., the Supreme Court held that

a person who has significant “participation rights” in a proceeding “possesses a reasonable

interest in obtaining judicial assistance, and therefore qualifies as an interested person” under

the statute. 29

          Petitioner is a minority shareholder of JBS, therefore it is more than interested that the

controllers of the company be charged due to violations of Corporate Laws that led to the extract

of assets from JBS.




28
     Id. 241, 247.
29
   Id. 256-57; In re Crown Prosecution, 870 F.2d at 689-90 (“interested person includes
“litigants before foreign or international tribunals… as well as any other person… [who]
possess[es] a reasonable interest in obtaining the assistance.”); Consorcio Ecuatoriano, 2014
WL 104132, at *4–6 (potential plaintiff seeking discovery for use in contemplated foreign civil
proceeding is an “interested person”). Persons who assist or direct a foreign party in an official
capacity also qualify as interested persons for purposes of Section 1782. See Setraco Nigeria
Ltd., No. 3:13-MCR, 2013 WL 1704913, at *2 (M.D. Fla. Apr. 19, 2013) (“The term interested
person is not restricted to litigants, foreign sovereigns, or designated agents of those sovereigns,
but rather encompassed a complainant who triggered an investigation.”)

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               Moreover, Brazilian Law specifically authorizes minority shareholders to take legal

      action, in the context of violations performed by controlling shareholders (Gonzalez Decl. ¶¶

      12-14.); and information provided by third parties, such as shareholders, is relevant to CVM’s

      enforcement activities (Gonzalez Decl. ¶ 19.). In this context, SPS has a clear interest to

      contribute to the Contemplated Proceeding.

II.         THE COURT SHOULD EXERCISE ITS DISCRETION IN FAVOR OF
            GRANTING THIS APPLICATION

               Once the statutory requirements of Section 1782 have been met, courts next use their

      discretion in granting discovery by considering four factors set forth by the Supreme Court in

      Intel: (1) whether “the person from whom discovery is sought is a participant in the foreign

      proceeding”; (2) “the nature of the foreign tribunal, the character of the proceedings underway

      abroad, and the receptivity of the foreign government or the court or agency abroad to U.S.

      federal-court judicial assistance”; (3) whether the application conceals an attempt to circumvent

      foreign proof-gathering restrictions or other policies; and (4) whether the discovery sought is

      unduly intrusive or burdensome. 30 In considering these factors, courts should exercise their

      discretion “liberally in favor of granting discovery.” 31 In this case, all four factors favor

      allowing discovery.

               Furthermore, when exercising their discretion, courts should consider the twin aims of

      Section 1782, namely, “providing efficient means of assistance to participants in international

      litigation in our federal courts and encouraging foreign countries by example to provide similar

      means of assistance to our courts.” 32




      30
           542 U.S. at 264-65.
      31
        See Brandi-Dohrn, 673 F.3d at 80 (“[T]he statute has, over the years, been given increasingly
      broad applicability.”)
      32
           KPMG, L.L.P., 798 F.3d at 117


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      A. None of the Respondents is a Party to the Foreign Contemplated Proceeding

          The first Intel factor considers whether the requested discovery is sought from a

participant in the foreign case. 33 Pursuant to Intel, this first factor favors the Petitioner where

the respondent is not a participant in the foreign proceeding. 34 As the Supreme Court and several

lower courts have recognized, “nonparticipants in the foreign proceeding may be outside the

foreign tribunal’s jurisdictional reach; hence, their evidence, available in the United States, may

be unobtainable absent § 1782(a) aid.” 35

          None of the Respondents will be a party in the Contemplated Proceeding to be

commenced with the CVM, given that it will deal directly with JBS’s majority shareholders

conducts.

          Accordingly, there is no danger that obtaining evidence from them in this district will in

any way disrupt or interfere with the jurisdiction or proceeding of CVM. Additionally, as the

financial institutions are New York entities, or have offices operating in New York it is unlikely

that SPS will be able to obtain such discovery absent an order from this Court. Thus, the first

discretionary factor is satisfied and should favor SPS.


      B. The Foreign Tribunal Will be Receptive to Information Obtained in Discovery
         Pursuant to Section 1782.

          The second Intel factor allows courts to “take into account the nature of the foreign

tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign




33
     In Re Pishevar, 439 F. Supp. 3d 290, 303 (S.D.N.Y. 2020) (Citing Intel).
34
     Intel, 542 U.S. at 264.
35
  Id.; see e.g., In re Imanagement Servs. Ltd., No. Misc. 05-89 (FB), 2005 WL 1959702, at *3
(E.D.N.Y. Aug. 16, 2005) (favoring discovery where targets were not parties to the foreign
action, because “their evidence, available in the United States, may be unobtainable absent §
1782(a) aid”).


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government or agency abroad to U.S. federal court judicial assistance.” 36 Additionally, “absent

specific directions to the contrary from a foreign forum, the statute's underlying policy should

generally prompt district courts to provide some form of discovery assistance.” 37 Discovery

should only be denied on the basis of lack of receptiveness where it is provided with

“authoritative proof that [the] foreign tribunal would reject evidence obtained with the aid of

section 1782.” 38 Courts in other circuits have held similarly in cases specifically pertaining to

Brazilian proceedings before courts. 39

           Moreover, the CVM has been, historically, receptive to information provided by third

parties – such as shareholders, investors, directors, officers, members of fiscal committees and

auditors – for purposes of CVM’s investigations. In fact, several enforcement proceedings

initiated by the CVM began with complaints filed by third parties (Gonzalez Decl. ¶ 19.).

           Additionally, Brazil is a signatory to the Hague Convention, which is a further indicator

that the Brazilian Court would be receptive to the evidence sought here. 40 Thus, the second

Intel factor strongly favors granting this Application.




36
     Intel 542 U.S. at 264.
37
   In re Atvos Agroindustrial Investimentos S.A., 481 F. Supp. 3d 166, 176–77 (S.D.N.Y. 2020)
(citing Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1102 (2d Cir. 1995)).
38
     Id.
39
   See In re De Melo Pimenta, 942 F. Supp. 2d 1282, 1288 (S.D. Fla. 2013) (“there is nothing
in the record suggesting the Brazilian Probate Court would be unreceptive to the Application”).
40
  In re Application of Gorsoan Ltd. & Gazprombank OJSC for an Ord. Pursuant to 28 U.S.C.
1782 to Conduct Discovery for Use in a Foreign Proceeding, No. 13 MISC. 397 PGG, 2014
WL 7232262, at *8 (S.D.N.Y. Dec. 10, 2014) (explaining that as Cyprus is a signatory to the
Hague Convention, it is unlikely that Cypriot courts would not be receptive to U.S. federal-
court assistance).


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      C. This Application is Made in Good Faith and Does Not Circumvent Foreign Proof-
         Gathering Restrictions.


          Courts typically weigh the third Intel factor against the Petitioner only where they find

that an application is brought in bad faith. 41

          Here, SPS seeks the requested discovery for use in a Contemplated Proceeding in Brazil,

a jurisdiction that has historically been open to the use of proof gathered pursuant to Section

1782. 42

          Furthermore, the CVM has not issued orders preventing SPS from seeking U.S. federal-

court assistance, and there is no evidence that SPS is making this request in bad faith. Indeed,

SPS has already provided evidence to the CVM in connection with the CVM Proceeding.

Accordingly, this factor weighs in favor of granting the Application.


      D. This Discovery Request is Narrowly Tailored and Not Unduly Intrusive or
         Burdensome.

          The fourth Intel factor favors the Petitioner if the requests for discovery are not overly

burdensome or duplicative. 43 In evaluating the scope of a Section 1782 request, the court applies

the “familiar standards” of the Federal Rules of Civil Procedure and are encouraged to issue a

“closely tailored discovery order rather than… simply denying relief outright.” 44 Where, as




41
   See In re Application of Hill, No. M19-117, 2007 WL 1226141, at *3 (S.D.N.Y. Apr. 23,
2007) (“Absent any indication of bad faith on [the Petitioner’s] part, the Court is simply
unwilling to weigh the request for § 1782 assistance itself as a negative discretionary factor”)
(internal quotations omitted); In re Gemeinsschaftspraxis Dr. Med. Schottdorf, No. M19-88,
2006 WL 3844464, at *7 (S.D.N.Y. Dec. 29, 2006).
42
     See Supra page 18.
43
     Intel, 542 U.S. at 265.
44
  In re Top Matrix Holdings Ltd., No. 18 MISC. 465 (ER), 2020 WL 248716, at *7 (S.D.N.Y.
Jan. 16, 2020).


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       here, a Petitioner’s requests concern “the precise subject matter of the underlying litigation,”

       the requests are not unduly burdensome. 45

                SPS’s limited discovery request seeks documents relating to financial transactions

       conducted by Lunsville, Valdarco, Unifleisch UK and Unifleisch SA through the intermediation

       and services offered by Respondents, while avoiding unnecessary burden or intrusion upon

       them. Moreover, SPS’s counsel has narrowly tailored these discovery requests to what will be

       necessary to start the Contemplated proceeding with the CVM while providing evidence that

       will contribute to the Commission’s investigation activities. As a result, the requested discovery

       is appropriate.

                A copy of the subpoenas that SPS intends to serve on Respondents is attached as exhibits

       to the Proposed Order being filed contemporaneously with this Application. The potential

       burden and expense of compliance would be minimal because the requested discovery

       implicates a discrete universe of documents relating to financial transactions operated by the

       companies.

                The relevant documents should thus be easily identifiable, readily accessible, and not

       burdensome for Respondents to produce. In the unlikely event, however, that this Application

       and the desired discovery create a burden or other issues for one of the Respondents, SPS would

       be more than willing to accommodate and confer with them to resolve any such issues in good

       faith.

III.        THIS APPLICATION SHOULD BE GRANTED EX PARTE

                Finally, the Court should grant SPS’s Application on an ex parte basis. Courts in this

       Circuit and across the country have recognized that Section 1782 applications made on an ex


       45
          First American Corp. v. Price Waterhouse LLP, 154 F.3d 16, 23 (2d Cir. 1998); see, e.g.,
       Veiga, 746 F. Supp. 2d at 25 (granting a Section 1782 application where “the subject matter of
       the requests are reasonably tailored to speak to the claims and defenses raised in the proceedings
       at issue”).


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parte basis are properly filed and routinely granted. 46 Such applications are “customarily

received and appropriate action taken with respect thereto ex parte,” because “witnesses can ...

raise[] objections and exercise[] their due process rights by motions to quash the subpoenas.” 47

Here, SPS requests that its ex parte Application be granted without prejudice to Respondents’

rights to move to vacate this Court’s approval order and/or quash the subpoenas SPS would

issue thereunder.




46
  See e.g., Esses v. Hanania (In re Esses), 101 F.3d 873, 874 (2d Cir. 1996) (affirming grant of
ex parte order under Section 1782); In re Application of Gianoli, 3 F.3d 54, 55 (2d Cir. 1993)
(same); see also In re Mota, No. MC 19-00369 (MN), 2020 WL 95493, at *1 (D. Del. Jan. 8,
2020) (“Discovery applications under § 1782 are often granted ex parte”); In re Request for Int'l
Jud. Assistance From the Nat'l Ct. Admin. of the Republic of Korea, No. C15-80069 MISC LB,
2015 WL 1064790, at *2 (N.D. Cal. Mar. 11, 2015) (“An ex parte application is
an acceptable method for seeking discovery pursuant to § 1782.”).
47
   In re Letters Rogatory from Tokyo Dist., Tokyo, Japan, 539 F.2d 1219 (9th Cir. 1976); see
also Gushlak v. Gushlak, 486 F. App’x 215 (2d Cir. 2012) (“it is neither uncommon nor
improper for district courts to grant applications made pursuant to § 1782 ex parte.”); In re
Letter of Request from Supreme Court of Hong Kong, 138 F.R.D. 27, 32 n.6 (S.D.N.Y. 1991)
(“Indeed, such ex parte applications are typically justified by the fact that the parties will be
given adequate notice of any discovery taken pursuant to the request, and will then have the
opportunity to move to quash the discovery or to participate in it.”); In re Gemeinschaftspraxis
Dr. Med. Schottdorf, No. Civ. M19-88 (BSJ), 2006 U.S. Dist. LEXIS 94161, at *1 (S.D.N.Y.
Dec. 29, 2006) (denying motion to quash subpoena issued ex parte under 1782).

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                                     CONCLUSION

       For the foregoing reasons, SPS respectfully requests that the Court enter an order

granting this Application substantially in the form of the Proposed Order filed

contemporaneously herewith and such other relief as the Court deems just and proper.



 Dated:   April 21, 2022                     Respectfully submitted,
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                                             Exterior




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                          EXHIBIT A


                      Gonzalez Declaration
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                  DECLARATION OF GUSTAVO MACHADO GONZALEZ

I, Gustavo Machado Gonzalez, pursuant to 28 U.S.C. § 1746, hereby declare under pen-
alty of perjury under the laws of the United States, as follows:

1.      I submit this Declaration in support of the request of SPS I Fundo de Investimento
de Ações – Investimento no Exterior (“SPS”) for entry of an order allowing it to take
discovery for use in a contemplated proceeding in Brazil, as further described below,
pursuant to 28 U.S.C. § 1782 (“1782 Application”).

2.      All facts set forth in this Declaration are based upon: (i) my personal knowledge;
(ii) my review of the documents that SPS provided to me; and (iii) information obtained
from SPS.

I.      Personal background information

3.      I am an attorney admitted to practice in Brazil and in the State of New York. I
currently focus my practice on Brazilian law. I am over the age of 21 and fluent in English
and submit this Declaration in this language.

4.     In 2004, I graduated in Law from Pontifícia Universidade Católica of Rio de Ja-
neiro. In 2005, I obtained my MBA in Finance from INSPER; and, in 2009, I obtained
my LL.M. degre from Columbia Law School (Harlan Fiske Stone Scholar). Currently, I
am pursuing a Doctorate Degree in Commercial Law at the University of São Paulo.

5.    In addition to the private practice, I have experience in the public sector. Between
September 2012 and March 2014, I was the Chief of Staff (Chefe de Gabinete da
Presidência) at the Brazilian securities and exchange commission – Comissão de Valores
Mobiliários, or CVM. Between July 2017 and February 2021, I served as a Commis-
sioner (Diretor) at CVM.

6.      In August 2021, I founded my law firm: Gustavo Gonzalez Advogados. The firm
is a specialized boutique focused on complex securities and corporate law issues involv-
ing publicly held companies and other market participants, with an emphasis on providing
legal opinions and advising on securities and corporate litigation and other CVM-related
matters.
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7.      In parallel, I have also been committed to academic activities. Since 2012, I have
been an adjunct professor in specialization and postgraduate courses at Brazilian univer-
sities – such as Fundação Getúlio Vargas (Rio de Janeiro), Pontifícia Universidade
Católica of Rio de Janeiro (Rio de Janeiro), and INSPER (São Paulo). I am also the author
of several articles published in specialized books and magazines.

II.      A brief overview of the Brazilian capital markets profile

8.      The capital markets in Brazil is characterized for a pattern of highly concentrated
ownership. Most of the Brazilian publicly held companies have a single shareholder (or
a small group of shareholders bound by a shareholders’ agreement) owing more than 50%
of their voting capital.

II.1.    Derivative actions against the controlling shareholder

9.       The Brazilian Corporate Law (Law No. 6,404/1976) provide specific provisions
for controlling shareholders.

10.     Article 116, caput, defines controlling shareholder “as an individual or a legal
entity, or a group of individuals or legal entities bound by a voting agreement, or under
common control, which: (a) possesses rights which permanently assure it a majority of
votes in resolutions of general meetings and the power to elect a majority of the members
of management; and (b) in practice uses its power to direct the corporate activities and to
guide the operations of the divisions of the corporation.

11.      Article 116, Sole Paragraph, provides that “a controlling shareholder shall use its
controlling power in order to make the corporation accomplish its purpose and perform
its social role, and shall have duties and responsibilities towards the other shareholders of
the corporation, those who work for the corporation and the community in which it oper-
ates, whose rights and interests the controlling shareholder must loyally respect and
meet”.

12.    Article 117, caput, states that “a controlling shareholder shall be liable for any
damage caused by acts performed by abuse of its power”. Paragraph 1 of article 117 ex-
emplifies some actions that may be regarded as an abuse of controlling power, including
“to guide a corporation towards an objective other than in accordance with its corporate
purposes or harmful to national interest, or to induce it to favor another Brazilian or


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foreign corporation to the detriment of the shareholders’ interest in the profits or assets
of the corporation or of the Brazilian economy” (Art. 117, paragraph 1, “a”); “to induce,
or attempt to induce, any management or audit committee member to take any unlawful
action, or, contrary to their duties under this Law and under the bylaws, and contrary to
the interest of the corporation, to ratify any such action in a general meeting” (Art. 117,
paragraph 1, “e”); “to enter into contracts with the corporation directly, through a third
party or through a company in which the controlling shareholder has an interest, in unduly
favorable, or inequitable, terms” (Art. 117, paragraph 1, “f”).

13.     According to Article 246 of the Brazilian Corporate Law, the controlling share-
holder must reimburse any damage caused to the company on account of actions taken in
breach of Articles 116 and 117 of the Brazilian Corporate Law. Recognizing that a com-
pany with a controlling shareholder may lack the incentives and the independence to file
and conduct a lawsuit against its controlling shareholder, the Brazilian Corporate Law
authorizes any minority shareholder to file a lawsuit on behalf of the company against the
controlling shareholder without submitting the matter to a shareholders general meeting.

14.     Depending on its ownership stake, the shareholder may be required to post collat-
eral to guarantee the payment of the legal costs (including court costs, attorney fees and
lost fees) in case of an adverse ruling1. If the suit is successful, the award must sentence
the controlling shareholder to redress the damage and pay court costs, attorney fees at
20% based on the amount of the award and a 5% premium also based on the amount of
the award to the shareholders who sponsored the suit (Brazilian Corporate Law, Article
246, paragraph 2).

II.2.    CVM administrative enforcement proceedings

15.  CVM is a federal entity in charge of overseeing the Brazilian securities market.
CVM holds rulemaking power and the authority to oversee and enforce compliance with



1
  The Brazilian Corporate Law establishes a 5% minimum share ownership requirement to file a derivative
lawsuit without presenting a bond but authorizes CVM to reduce the ownership requirement for listed com-
panies (Article 291) based on the amount of their capital stock. Pursuant to CVM Resolution No. 70/2022,
for listed companies with outstanding capital stock: (i) above BRL 10 billion, the requirement is 1%; (ii) be-
tween BRL 5 billion and BRL 10 billion, 2%; (iii) between BRL 1 billion and BRL 5 billion, 3%; (iv) be-
tween BRL 100 million and BRL 1 billion, 4%; and (v) below BRL 100 million, 5%.




                                                      3
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the Brazilian Securities Law (Law No. 6,385/1976), the Brazilian Corporate Law (Law
No. 6,404/19762), and its own rules, among others.

16.     The administrative enforcement proceedings commenced by the CVM are entirely
conducted inside the entity. In other words, CVM has the power to conduct investiga-
tions, bring charges, and impose penalties to companies and individuals3.

17.     CVM staff is divided in several units that are called “Superintendências”, each
one responsible for overseeing a specific segment of the securities markets4 or for admin-
istrative matters concerning CVM’s activity. Each operating unit holds the power to in-
vestigate potential violations related to the matters under its jurisdiction5 and to start an
administrative enforcement proceeding (processo administrative sancionador).

18.    The Board of Commissioners is not involved in the investigation or in the decision
to accuse a company or an individual, initiating an administrative enforcement




2
  In Brazil, corporate law is a federal law matter. CVM’s authority on corporate law is restricted to matters
involving publicly-held companies.
3
 Pursuant to Section 11 of the Brazilian Securities Law, CVM may apply the following penalties on com-
panies and individuals: (i) warning; (ii) fines; (iii) temporary inability to act as director or officer, or as
member of the fiscal council of a publicly-held corporation of an entity which is part of the securities
distribution system, or of other entities which require authorization by, or registration with, the CVM, for
up to twenty (20) years; (iv) suspension of the authorization or registry to exercise any activities regulated
by the Brazilian Securities Law; (v) temporary inability to exercise any activities regulated by the Brazilian
Securities Law, for up to twenty (20) years; (vi) temporary prohibition to practice certain activities or trans-
actions, for entities which are part of either the securities distribution system or other entities that require
authorization or registry with the CVM, for up to twenty (20) years; and (vii) temporary prohibition to act,
directly or indirectly, in one or more categories of transaction it the securities market, for up to ten (10)
years
4
  For instance, the following units of the CVM are responsible for registration, oversight, orientation, sanc-
tioning and support to rulemaking in connection with their respective areas, pursuant to CVM Resolu-
tion No. 24/2021: (i) the Division of Companies’ Relationship (Superintendência de Relações com Empre-
sas – SEP), in connection with public-held companies, as well as disclosure activities, and conduct of mem-
bers of the management and of shareholders, of public-held companies, among others; (ii) the Division of
Relations with the Market and Intermediaries (Superintendência de Relações com o Mercado e Interme-
diários – SMI), in connection with exchanges and other organized securities markets, clearing and settle-
ment agents, custodians, bookkeeping agents, central depositaries, brokerage activities, distribution agents
and self-regulatory entities, as well as irregular intermediation activities, among others; and (iii) the Divi-
sion of Oversight of Institutional Investors (Superintendência de Supervisão de Investidores Institucionais
– SIN), in connection with foreign investors, investment clubs, portfolio managers, securities advisors,
securities analysts and investment funds, except for activities relating to securitization, among others.
5
    Article 3 of CVM Resolution No. 45/2021.



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proceeding. The Board of Commissioner is responsible to judge these proceedings and
is competent to impose penalties on those charged with wrongdoings.

19.     Even though the administrative enforcement proceedings commenced by the
CVM are entirely conducted inside the entity, information provided by third parties –
such as shareholders, investors, directors, officers, members of fiscal committees and au-
ditors – are, historically, extremely important for the investigations conducted by the
CVM. In fact, several enforcement proceedings initiated by the CVM began with com-
plaints filed by third parties.

20.     In addition, in recent years, the CVM has suffered from a major insufficiency of
resources (including personnel) for conducting investigations. Such situation is further
aggravated by the significant number of investigations and punitive proceeding already
in course within the CVM. In this context, the submission of robust evidence to the CVM,
by third parties, plays an even more significant role.

21.    The CVM’s enforcement activity, such as via enforcement proceedings, does not
prevent other government entities to bring other charges to the targets, such as criminal
charges to be brought by the Public Attorney’s Office (when the conduct also constitutes
a crime), or civil actions seeking indemnification for losses resulting from the same
wrongdoing.

22.    As a matter of fact, the CVM does acknowledge that third party contribution is
important and complementary to its enforcement activity6. In my view, an example of

6
  During 2018 and 2020, CVM, jointly with the Ministry of Economy and the advisory of OCDE, promoted
a series of initiatives with the objective of contributing to the improvement of private enforcement in the
Brazilian capital market. The first main product of this project was a report named “Strengthening the
enforcement of shareholders’ rights,” dated as of October 2019, and prepared by members of CVM, the
Ministry of Economy and OCDE, which states the following in its introduction: “Currently, the Brazilian
Securities Commission (CVM) plays an important role in shareholder disputes. CVM has jurisdiction over
corporate law matters, and authority to start administrative proceedings and impose penalties against
wrongdoers. However, CVM does not have authority to determine reimbursement for compensation for
those affected. (…) Therefore, the main mechanisms available in Brazil for investors redress are beyond
CVM’s administrative jurisdiction, since, as a rule, the Commission does not participate in and sometimes
is not even aware of lawsuits and arbitral proceedings involving publicly held companies or other market
participants. According to the findings of OECD Corporate Governance Committee’s survey on supervi-
sion and enforcement in corporate governance, though most jurisdictions rely more heavily on public en-
forcement, those that have both public and private enforcement found that they play important complemen-
tary roles. This complementarity is especially relevant when it comes to redress since it usually requires a
shareholder suit. The OECD’s supervision and enforcement review found that, in Brazil, private enforce-
ment is very weak in practice. There are flaws in the current system that does not encourage enough



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the complementarity of the CVM’s punitive activity with other measures is the fact that
the entity does not hold the power to compel wrongdoers to indemnify those who were
harmed by the wrongdoings.

III.      A brief overview of SPS’s existing and contemplated actions in defense of JBS

23.    SPS is a Brazilian investment fund managed by SPS Capital. SPS Capital is an
asset manager specialized in special situation investments, including complex litigation.

24.      JBS S.A. (“JBS”) is one of the largest Brazilian public companies. Over the last
years, a series of scandals involving JBS has come into light. The company has suffered
substantial losses due to wrongdoings perpetrated by (or pursuant to the instructions) of
its indirect controlling shareholders, the Batista family (the “Batistas”).

25.     In the past few years, SPS has been seeking legal measures against the Batistas on
behalf of JBS to defend the interests of JBS and its minority shareholders. SPS has initi-
ated an arbitration on behalf of JBS, in which it seeks indemnification to the company for
damages caused by its controlling shareholders. Additionally, SPS is currently seeking to
provide additional evidence to CVM in an administrative enforcement proceeding initi-
ated by the CVM due to wrongdoing caused by the Batistas and other JBS’s management
related to a transaction involving the merger of Bertin S.A. (a former major Brazilian
company in the meat industry) into JBS, in 20097.

26.    I have been regularly advising SPS on legal matters, including in connection to its
investment on JBS. I represent SPS on the pending CVM administrative enforcement
proceeding against the Batistas and have been retained to assist them on a new set of legal
measures related to different facts, as described below.

27.     In summary, SPS is contemplating filing a complaint with the CVM, in order to
report the violations perpetrated by the controlling shareholders of JBS that are still not


shareholders to seek redress by themselves, and which creates an imbalance that concentrates the enforce-
ment burden on public authorities (CVM and public prosecutor service). In summary, claims by sharehold-
ers to the CVM have replaced private enforcement action. Considering, among other factors, the CVM
limitations regarding investor redress, this report seeks to find mechanisms to balance public and private
enforcement by providing suggestions on how to improve private enforcement in Brazil.” Available at:
https://www.gov.br/cvm/pt-br/centrais-de-conteudo/publicacoes/estudos/strengthening-the-enforcement-
of-shareholders2019-rights-interim-report-cvm-ocde-spe-me-outubro-2019.
7
    PAS CVM nº 19957.008434/2019-03 (8434/2019).


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object of an enforcement proceeding. The matters described under the complaint would
be subject to investigation by the CVM units, which could bring charges against the con-
trolling shareholders, resulting in the initiation of an administrative enforcement proceed-
ing.

28.    The set of violations under CVM’s complaint would be related to a severe illicit
scheme performed by the controlling shareholders of JBS, to the detriment of the com-
pany, as described below.

IV.      Overview of the violations by the controlling shareholders of JBS

29.    The facts briefly described below have been gathered based on information arising
from investigations conducted by authorities in Brazil and in other jurisdictions, including
the United States, which have been unveiled in recent years – for instance, certain key
facts were only revealed in 2020.

30.     In that context, an investigation conducted in the United States by the Financial
Crimes Enforcement Network (“FinCen”) unraveled important evidence, which was dis-
closed by an international consortium of journalists in September 2020, under an opera-
tion named “FinCen Files.” Relevant evidence was also extracted from investigations
performed in Brazil in recent years, including a proceeding conducted by Brazilian tax
authorities, and plea bargains with Brazilian authorities in the context of corruption scan-
dals involving the controlling shareholders of JBS.

31.     The evidence extracted from those investigations depict an illegal scheme orches-
trated by members of the Batista family– who are the indirect controlling shareholders of
JBS – for the extraction of significant amounts of funds from JBS, which were intended
for criminal purposes and/or to the benefit of members of the Batistas.

32.     A core component of the scheme was the employment of entities in various juris-
dictions – all of which controlled by Batistas, as the evidence suggests –, apparently as a
form to disguise the underlying illicit conducts. Certain entities under the name
“Unifleisch” – which prior to those more recent investigations were likely unknown to
the relevant authorities – have played a major role in such deceptive scheme. Other enti-
ties employed – as the Panamanian companies, Lunsville Internacional Inc. (“Lunsville”)
and Valdarco Investment Inc. (“Valdarco”) – are known to have been key participants in
major corruption dealings involving the Batistas and Brazilian officials.


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33.      The evidence indicates that a vast amount of funds originated from JBS were
transferred to Unifleisch Limited – UK (incorporated in the United Kingdom)
(“Unifleisch UK”) – under a seemingly legitimate commercial representation agreement.
Later, Unifleisch UK, with no apparent economic purpose, wired such funds to various
entities, including Lunsville and Valdarco (used for payment of bribes to Brazilian offi-
cials), Antigua Investments (an investment firm of the Batistas; also, used for the payment
of bribes), an entity named Unifleisch SA (a Swiss company, which is managed by an
individual with clear associations with companies controlled by the Batistas)8, among
other suspicious transitions.

34.     In essence, the evidence gathered suggests that Unifleisch UK extracted funds
from JBS, which were, later, transferred to other offshore entities for criminal purposes –
for instance, payment of bribes – and/or for the direct benefit of the Batistas – for instance,
funds remained at the disposal of the Batistas or were transferred to companies associated
with them. Evidence also suggests that the flow of those funds would be directed by the
Batistas, who controlled the offshore companies involved in the scheme.

35.     The evidence gathered indicates that the offshore entities used the services of fi-
nancial institutions with business dealings in the United States, in the context of the illicit
scheme, including: (i) Barclays, which reported to FinCen various suspicious transactions
performed by Unifleisch UK; and (ii) J.P. Morgan, which advised the Batistas in the con-
text of the arrangement of a Delaware entity named Blessed Holdings LLC, which for-
merly had Lunsville as one its members. The connections with such financial institutions
are further described below.

V.      Evidence to be obtained pursuant to the 1782 Application

36.     Pursuant to the 1782 Application, SPS seeks to produce additional evidence,
which may be in possession of the mentioned financial institutions, in connection with
the illegal dealings orchestrated by the Batistas by means of Unifleisch UK and other
offshore entities described above.




8
 Unifleisch UK was dissolved in 2016, whereas Unifleisch SA still exists and could have business dealings
with JBS until today.


                                                   8
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Barclays

37.    According to the investigations conducted by FinCen, Barclays made a report on
suspicious activities (SARs) in connection with Unifleisch UK’s account with such bank9.
The information that is currently known to SPS on such report is based on the limited
information disclosed in the journalistic operation named “FinCen Files,” in September
2020.

38.     According to Barclays’s report, “Unifleisch is instructed by either JBS, Lunsville,
or Valdarco for all action required to be taken”. The bank indicates several motivations
for the filing of its suspicious activities report on Unifleisch UK, its owners and counter-
parts, including the performance of transactions with “parties located in high-risk juris-
diction known for money laundering, specifically Panama and Switzerland”. Barclays
further indicates that “these wire transfers appeared to be layered in a circular scheme as
to attempt to disguise or hide the true source of funds and/or its origin”.

39.     Based on the information provided by Barclays, the investigation by FinCen iden-
tified various suspicious transactions involving Unifleisch UK – US$633.9 million would
have been transferred by Unifleisch UK, by means of 859 wire transfers, between Sep-
tember 2011 and April 2016. Those transactions involved the various offshore entities
involved in the illicit scheme orchestrated by the Batistas, as previously described.

40.    Nonetheless, as mentioned, in the context of the “FinCen Files” only limited in-
formation (for instance, no full copies of documents) was disclosed on the investigations
conducted by FinCen, based on the report made by Barclays.

41.     Therefore, the 1782 Application is intended to obtain further evidence from Bar-
clays on the suspicious transactions conducted among Unifleisch UK and other offshores
entities involved in the illicit scheme (including, complete copies of reports and docu-
ments presented to FinCen, and of statements of wire transfers made by Unifleisch UK).
As previously described, the evidence suggests that the funds transferred by Unifleisch


9
  The following is an excerpt of the report of Barclays extracted from the information disclosed by the
journalistic operation named “FinCen Files”: “The New York Branch of Barclays Bank PLC (“Barclays
NY”), a United Kingdom (“UK”) banking corporation, maintains a United States Dollar (“USD”) corre-
spondent account for its affiliate, Barclays Bank Plc, Knightsbridge (“Barclays UK Wealth”). A Barclays
UK Wealth account in the name of Unifleisch Limited, also known as Unifleisch SA and Unifleisch S/A
(“Unifleisch”) was flagged for review as part of Barclays NY’s surveillance program”.


                                                  9
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UK to other entities, in the context of the suspicious dealings, were originated from JBS,
and the flow of such funds was directed by the Batistas.

J.P. Morgan

42.      J.P. Morgan had been a major financial advisor of JBS and the Batistas since the
company’s IPO. Based on public information, the bank had an important role in develop-
ing the foreign aspects of the control structure of JBS (by the Batistas) that was adopted
following the transaction involving the merger of Bertin S.A. into JBS, in 2009.

43.     J.P. Morgan’s team in New York was involved in the conception of the foreign
aspects of such structure, which included the creation of a Delaware entity named Blessed
Holdings LLC10, which would later be known to be controlled by the Batistas11.

44.   Lunsville – one of the offshore companies that received funds from Unifleisch UK
and was used to pay bribes to Brazilian officials – was supposedly one of the members
indicated in the corporate records of Blessed Holdings LLC, in 2009.

45.     Accordingly, the 1782 Application is intended to obtain further evidence from
J.P. Morgan on the relationship between Lunsville and Blessed Holdings LLC, including
any information that may be in possession of the bank in connection with Unifleisch UK
and other entities or aspects of the illegal scheme. As described, the evidence suggests
that the funds transferred by Unifleisch UK to Lunsville, and other entities, were origi-
nated from JBS, and the flow of such funds was directed by the Batistas.




10
   For instance, in a deposition to the Brazilian Federal Police, of June 21, 2017, Joesley Batista stated the
following: “THAT in connection with the creation of BLESSED, the Deponent [Joesley Batista] clarifies
that it was conceived by FABIO PEGAS, of JP Morgan NY; THAT the creation of such offshore entity had
the purpose to guarantee that the corporate control of JBS after the merger with BERTIN remained with
the Batista family; […] THAT the Deponent affirms that he does not feel very qualified to speak of such
structure, because it was fully conceived by FABIO, but informs that such strategy was used to reduce even
more the possibility of the BERTIN FAMILY to have any form of corporate control over JBS” (free trans-
lation of: “QUE em relação à criação da BLESSED, o Depoente esclarece que foi gestada por FABIO
PEGAS, do JP Morgan de NY; QUE a criação dessa offshore foi pensada para garantir que o controle
acionário da JBS após a fusão com a BERTIN continuasse com a família BATISTA; [...] QUE o Depoente
afirma não se sentir muito habilitado para falar dessa estrutura, porque foi toda gestada por FABIO, mas
informa que essa estratégia foi utilizada para reduzir ainda mais a possibilidade de que a FAMÍLIA BER-
TIN viesse a ter alguma forma de controle acionário na JBS”).
11
  As mentioned in the introduction of this Declaration, SPS is also adopting legal measures in connection
with violations conducted by the Batistas in the context of the JBS-Bertin transaction.


                                                     10
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V.       Conclusion

46.     The consequences of the wrongdoings illustrated above are detrimental to JBS
and to its minority shareholders, including SPS. Consequently, SPS has a legitimate in-
terest to initiate and contribute to further legal measures, in Brazil, as described in the
introduction of this Declaration.

47.    Based upon the 1782 Application, SPS seeks to produce further evidence, which
may be in possession of the mentioned financial institutions, in connection with the illegal
dealings perpetrated by the Batistas by means of Unifleisch UK and other offshore enti-
ties.

48.     It is expected that the evidence that may be produced based on the 1782 Applica-
tion will contribute to more effectiveness to the investigations of the CVM arising from
a complaint to be filed by SPS, and, consequently, to any administrative enforcement
proceedings arising from those investigations.

49.    Thus, SPS believes that such evidence may significantly contribute and impact
the contemplated legal actions to be brought against the controlling shareholders of JBS,
in Brazil.

50.      I declare under penalty of perjury that the foregoing is true and correct.

Respectfully Submitted,




Executed on April 20, 2022.




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                          EXHIBIT B


                         Plea Agreement
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         F'OR THE U.S. DEPAltTMENT OF-JUSTICE;
         SETH D� DUCHARME                        DANIELS. KAHN
         AetingUnited. S�tes Attorney            Acting Chiet Fraud Section
         Eastern District ofNew York             Criminal Division




         David Gopstein
         Assistant U.S. Attorney
                                                 m1e
                                                 Michael Culhane Harper
                                                 Joseph McFarlane
                                                 Triijl Attorneys

         Date:

         --10/13/20----------




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Director of Legal and Compliance for the Defendant and that I have been duly authorized by the

Defendant to execute the Agreement on behalf of the Defendant.



Date: fe. / j . J.o)o

                                    J&F INV       TIMENTOS SA

                             By:
                                      cio Batista Martins
                                    Director of Legal and Compliance
                                    J&F Investimentos SA




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By:   ____________________________            Dated: ________________________
      José Antonio Batista Costa
      CEO
      J&F Investimentos SA

By:   ____________________________            Dated: ________________________
      Andre Alcântara Ocampos
      CFO
      J&F Investimentos SA




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                                 EXHIBIT C


                               JPM Statemnent
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                                                                                        p. 123
        213.041(001) Livro 984 Fl. 123-132
        I, SWORN PUBLIC TRANSLATOR AND COMMERCIAL INTERPRETER SIGNED
        BELOW, APPOINTED BY THE PRESIDENT OF THE TRADE BOARD OF THE
        STATE OF RIO DE JANEIRO (JUCERJA), LICENSED IN THE FOLLOWING
        LANGUAGES: ENGLISH, FRENCH, AND SPANISH UNDER PERMIT 243 ---------
        HEREBY CERTIFY IN GOOD FAITH ----------------------------------------------------------
        THAT ON THIS DATE A DOCUMENT WAS PRESENTED TO ME WRITTEN IN
        PORTUGUESE, WHICH I NOW TRANSLATE INTO THE ENGLISH IDIOM WITH
        THE BEST OF MY KNOWLEDGE AND IN GOOD FAITH, AS COMMANDED BY
        MY OFFICIAL DUTY, AS FOLLOWS: ---------------------------------------------------------
        ---------------------------------------------------------
        (Stamp initialed on all pages of the document submitted:
        J.P. Morgan – Legal Department) --------------------------
        (Headings on all pages of the submitted document) --------
        ---------------------------------------------------------
        J.P. Morgan ----------------------------------------------
        São Paulo, June 15, 2017 ---------------------------------
        TO-------------------------------------------------------
        BRAZILIAN SECURITIES COMMISSION - CVM --------------------
        Management of Registrations and Authorizations - GIR -----
        Rio de Janeiro - RJ --------------------------------------
        At: Ms. Vera Lucia Simões Alves Pereira de Souza ---------
        Ref: Letter No. 789/2017/CVM/SIN/GIR ---------------------
        Subject:      Identification         of    final     beneficiaries         of    non-
        resident investors - CVM Instruction no. -----------------
        560/2015 - CVM Process No. 19957.003195/2017-25 ----------
        Dear Sirs, -----------------------------------------------
        In response to Letter No. 789/2017/CVM/SIN/GIR, dated May
        24, 2017 (“Letter”), and received by us on May 30, 2017,
        in reference to CVM Case No. 19957.003195/2017-25, J.P.
        Morgan S.A. Distribuidora de Títulos e Valores Mobiliários
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                                                                                               p. 124
        (“JP Morgan DTVM”), as custodian and legal representative
        of    Blessed          Holdings         LLC     (CNPJ:       97.539.050/0001-83)
        (“Blessed”), hereby provides the following information: --
        (1) General: It is important to clarify, at first, that
        Blessed was registered with JP Morgan DTVM on July 12,
        2011, as a result of the transfer of the custody account
        of this client held until then with HSBC Corretora de
        Títulos     e    Valores       Mobiliários       S.A.      to     JP    Morgan     DTVM.
        Therefore,       the     responses        we    are    sending         you    regarding
        items 2 through 4 below are limited to the time period
        beginning when Blessed became our customer. --------------
        (2) What is the framework provided for this investor under
        CVM   Instruction            No.   560/2015:     For       the    purposes        of    the
        provisions        of    Art.       1,   item    VIII       of    Annex       I    to    CVM
        Instruction 560/15, the non-resident investor Blessed is
        framed in Art. 1, paragraph 1, item XIV of Annex I to CVM
        Instruction 560/15, as “legal entities incorporated abroad
        that do not fit into the previous categories”. -----------
        (3)   Who   are        the    intermediaries          in   which       this      investor
        currently has a registration: JP Morgan DTVM, as Blessed's
        custodian and legal representative, is not responsible for
        Blessed's        registration           with    local       intermediaries             and,
        therefore,       has     no    information        about         the    intermediaries
        with whom Blessed is currently registered. JP Morgan DTVM
        sends       simplified             registration             forms         to        local
        intermediaries upon request. Sending the form is a market
        practice        that    aims       to   facilitate         the    registration            of
        foreign     investors          with     local    intermediaries.             JP   Morgan
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                                                                                            p. 125
        DTVM does not have the list of intermediaries to whom the
        simplified registration forms are sent, and even if it had
        this information, it would not be able to confirm whether
        the    registrations            were     in        fact    opened         by        these
        intermediaries or whether they are currently active. Given
        that     the   operational           flow     of    settlement       of        certain
        transactions involves intermediaries, JP Morgan DTVM may
        only   identify      the       intermediaries        with whom       Blessed         has
        traded      using    the       account      that    is    the     object       of    our
        custody, if the CVM deems it necessary. However, JP Morgan
        DTVM is unable to confirm whether Blessed's registration
        with   these    intermediaries           is   still active,          nor       whether
        Blessed has registration with other intermediaries with
        whom Blessed could have traded or negotiated using custody
        accounts held by other local custodians. -----------------
        (4) Which of these registrations were made based on the
        provision of Article 9 of CVM Instruction No. 505/2011: As
        mentioned in the preceding paragraph, JP Morgan DTVM, as
        custodian      and   legal       representative           of    Blessed,       is    not
        responsible for        the       registration        of    Blessed       with       local
        intermediaries and, therefore, does not have information
        about the intermediaries with which Blessed currently has
        a registration or the type of registration held with these
        intermediaries        -        whether      complete,          pursuant        to    CVM
        Instruction No. 301/99, or simplified, pursuant to Article
        9 of CVM Instruction No. 505/2011. JP Morgan DTVM sends,
        at    the   request       of    local    intermediaries,           and     with      the
        authorization         of       the      foreign       investor,          simplified
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                                                                                   p. 126
        registration forms to local intermediaries. Sending the
        form is a market practice that aims to facilitate the
        registration         of         foreign       investors         with     local
        intermediaries. JP Morgan DTVM does not have the list of
        intermediaries to whom the simplified registration forms
        are sent, and even if it had this information, it would
        not be able to confirm whether the registrations were in
        fact opened by these intermediaries or whether they are
        currently active. ----------------------------------------
        (5)    History      of    the     ultimate        beneficiaries     of   these
        investors: As mentioned in paragraph (1) above, Blessed
        was initially registered with JP Morgan DTVM on July 12,
        2011, due to the transfer of its custody account from HSBC
        Corretora    de    Títulos        e   Valores     Mobiliários     S.A.   to    JP
        Morgan DTVM. JP Morgan DTVM registered the Blessed under
        the terms of article 9 of CVM Instruction 505/2011, with
        JPMorgan Chase Bank, National Association (“JPMCB NA”) as
        global custodian abroad. In this regard, the information
        held directly by JP Morgan DTVM is only that contained in
        the       minimum         registration             content      (“simplified
        registration”) established by Memo 53/2012-DP of B3 S.A. -
        Brasil,    Bolsa,        Balcão       (formerly    BM&FBovespa     S.A.)      and
        Annex I of CVM Instruction 560/15. As a result of the
        simplified       registration          structure    described     above,      the
        complete Know Your Client process is carried out by JPMCB
        NA.------------------------------------------------------
        On    February    07,     2017,       we   received   correspondence       from
        JPMCB NA informing us that, in view of its global anti-
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                                                                                      p. 127
        money     laundering         (Global       AML)    and     KYC    Policies      and
        Procedures        (KYC    Policies       and   Procedures)        policies,     and
        within       its         activities         of         periodic      monitoring,
        investigation        and       checks     of     its    clients     and     related
        transactions, JPMCB NA had received certain information
        regarding         Blessed's       capital      structure      that     would     be
        relevant to JP Morgan DTVM. ------------------------------
        In addition and in view of the Letter, we ask JPMCB NA to
        confirm the history of the final beneficiaries of Blessed.
        JPMCB NA confirmed to us the history of Blessed's ultimate
        beneficiaries based on certain documents and information,
        not all of which contain consistent information, but which
        can be summarized as follows: ----------------------------
        (i) On December 16, 2009, JPMCB NA received a “Statement
        of Organizer in Lieu of Organization Meeting” (“Statement
        of Organizer”) from Blessed, also dated December 16, 2009,
        setting       forth        that         Lunsville        International         Inc.
        (“Lunsville”)            and      Gilberto         Souza      Biojone        Filho
        (“Gilberto”) were the initial managers of Blessed. At that
        date (i) Lunsville was the sole member of Blessed pursuant
        to Blessed's Limited Liability Company Agreement; and (ii)
        to the best of JPMCB NA's understanding and according to a
        draft internal due diligence report related to an account
        that     ultimately        was    not      opened,      Lunsville     was     owned
        equally      by    Joesley       Batista    (“Joesley”),         Wesley     Batista
        (“Wesley”),         Valere       Batista,      Vanessa      Batista,        Viviane
        Batista, Jose Batista Jr, and Jose Batista Sobrinho. On
        June    7,   2010,       JPMCB     NA    received       another   Statement      of
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                                                                                       p. 128
        Organizer    from     Blessed,       also    dated     December      16,       2009,
        indicating    that        Graal   (defined     below)        was    the    initial
        member of Blessed and that Andrea Prospero (“Prospero”)
        and Gilberto were the initial managers of Blessed. -------
        (ii)   On   March    15,     2010,    Blessed    was       donated        to   Graal
        Trust, a Bahamas-based purpose trust (“Graal”), a type of
        trust which, according to the information received, does
        not name beneficiaries but serves authorized purposes. The
        Graal's Trust Declaration states that its purpose is to
        hold and manage interests in Blessed and appoints Demilton
        Antonio de Castro (“Demilton”) and Florisvaldo Caetano de
        Oliveira (“Florisvaldo”) as protectors of Graal. The Trust
        Declaration        also     provides     that        the     protectors        must
        instruct the trustee to transfer the undistributed capital
        and income of the trust to anyone other than the trustee,
        the protectors and/or persons related or affiliated with
        them. According to the Trustee's Certificate, Joesley was
        named as settlor of Graal. Graal Trust Declaration does
        not list any settlor. The trustee is the Private Trust
        Corporation       Limited    of    the   Bahamas       and    the    authorized
        applicant     is     Platinum      Administration            S.A.,    of       which
        Prospero is a manager. -----------------------------------
        (iii) On April 19, 2010, Graal submitted a proposal to
        contract with LCIC and USCL (both defined below) and LCIC
        and USCL approved, subject to receipt of a conditional
        premium (“on a conditional premium receipt basis”), the
        issuance     of    the     following        twelve    (12)     “international
        flexible premium variable life insurance” policies: ------
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                                                                                                               p. 129
        ---------------------------------------------------------
                Insurance Company              Policy No                 Insured                 Beneficiary
         LCIC                        10-002                  José Batista Jr.            Graal
         LCIC                        10-004                  Valere Batista              Graal
         LCIC                        10-006                  Vanessa Batista             Graal
         LCIC                        10-008                  Wesley Batista              Graal
         LCIC                        10-010                  Joesley Batista             Graal
         LCIC                        10-012                  Viviane Batista             Graal
         USCL                        2010002                 José Batista Jr.            Graal
         USCL                        2010004                 Valere Batista              Graal
         USCL                        2010006                 Vanessa Batista             Graal
         USCL                        2010008                 Wesley Batista              Graal
         USCL                        2010010                 Joesley Batista             Graal
         USCL                        2010012                 Viviane Batista             Graal

        ---------------------------------------------------------
        (iv) On April 26, 2010, Graal transferred and assigned its
        interest in Blessed to LCIC and USCL as payment of the
        premium for the insurance policies listed above by way of
        the Membership Interest Assignment Agreement ('Membership
        Agreement'), LCIC Global Variable Life Insurance Policies
        Application, and the USCL Global Variable Life Insurance
        Policies Conditional Premium Receipt. After that date and
        to the best of JPMCB NA's understanding, Blessed now has
        the following corporate structure: -----------------------
        100% of Blessed's shares are owned by Blessed Holdings
        Cayman           Ltd.       (“BHC”).          BHC,   in     turn,          had   the      following
        corporate structure: -------------------------------------
        A. Lighthouse Capital Insurance Company (“LCIC”) owned 50%
        of BHC ---------------------------------------------------
        i. Colin Murdoch-Muirhead holds 75% of LCIC --------------
        ii. Cogent Holding International holds 25% of LCIC -------
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                                                                                   p. 130
        a.    Nicholas     Ferris       holds     50%      of     Cogent     Holdings
        International --------------------------------------------
        b.    Paul     Backhouse        holds     50%      of     Cogent     Holdings
        International --------------------------------------------
        B. US Commonwealth Life, A.l. (“USCL”) owned 50% of BHC --
        i. Colin Murdoch-Muirhead holds 51% of USCL --------------
        ii. James Walker holds 24% of USCL -----------------------
        iii. Nicholas Ferris holds 12.5% of USCL -----------------
        iv. Paul Backhouse holds 12.5% of USCL -------------------
        (v) According to information received, variable annuities
        and    life    insurance        with     variable        payments     combine
        insurance and investment features. Such products differ
        from traditional lump sum insurance in the way benefits
        are paid out. The premiums paid are kept in a segregated
        account,      which   allows      the     contractor        a     variety     of
        investment      options.        The     benefits        perceived     by    the
        beneficiary depend on the performance of the investments
        made through this segregated account. --------------------
        (vi) The Membership Agreement indicates that LCIC and USCL
        created and initially capitalized BHC as a special purpose
        company to hold and manage the interests arising from the
        policies in Blessed and that “LCIC and USCL will follow
        the   directions      of   Andréa       Prospero    or     such     subsequent
        investment manager as the policy owner of the Policies
        [Graal] may appoint pursuant to the terms and conditions
        of    the    Policies,     in    all     matters        pertaining    to    the
        ownership and voting of the BHC shares by the respective
        Policies”. -----------------------------------------------
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                                                                                              p. 131
        In summary: ----------------------------------------------
        (a)   Although       LCIC   and    USCL          jointly    owned        100%    of    BHC
        shares    with       the     power          to      prevail        in     shareholder
        resolutions, LCIC and USCL agreed to follow orders from
        Prospero (investment manager) in all matters relating to
        the ownership and voting of BHC shares; ------------------
        (b) Graal appointed Prospero and had the right to appoint
        the successor investment manager; ------------------------
        (c) Graal held the economic benefits of BHC's investment
        in Blessed; and ------------------------------------------
        (d) Graal, in turn, had as final controllers the natural
        persons Demilton           and   Florisvaldo,          as     protectors         of    the
        Graal. ---------------------------------------------------
        In addition to the information provided by JPMCB NA, as
        provided above, we shall also inform that on May 26, 2017,
        JBS      S.A.        released          a         Notice      to         the      Market
        (http://jbss.infoinvest.com.br/ptb/4143/Resposta%20Oficio%
        20179.2017.pdf)          informing           that         Wesley        and      Joesley
        acquired,       on   October      31,        2016,     the     entire          ownership
        interest of “Blessed Holdings” (the Notice did not specify
        whether Blessed Holdings referred to BHC or Blessed). ----
        Nevertheless, because             of       our    global    Know        Your    Customer
        procedures,      which      include         media    and     public       information
        monitoring, JPMCB NA has informed us that it is reviewing
        the available documents and information and will make the
        necessary updates to Blessed's record. -------------------
        We remain at your disposal for any further clarifications
        that may be necessary. -----------------------------------
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                                                                                                         p. 132
        Sincerely, -----------------------------------------------
        (Signature) ----------------------------------------------
        J.P.      Morgan         S.A.       Distribuidora              de     Títulos         e     Valores
        Mobiliários ----------------------------------------------
        (Stamp: Marcelo S. Barbosa - CPF 134.426.968-01) ---------
        Marcio Bonfiglioll ---------------------------------------
        ---------------------------------------------------------
        HAVING NOTHING FURTHER TO TRANSLATE FROM THIS DOCUMENT, I
        SIGN IT BY SETTING MY RIGHT HAND AND AFFIXING MY GOLDEN SEAL
        AND OFFICIAL STAMP. --------------------------------------------------------------------------
        PAULO FERNANDO SANTOS DE LACERDA, Ph.D --------------------------------------
        SWORN PUBLIC TRANSLATOR AND COMMERCIAL INTERPRETER PERMIT
        #243 ----------------------------------------------------------------------------------------------------
        April 21, 2022. ---------------------------------------------------------------------------------------
